
ALMON, Justice.
Appellant makes forceful, but ultimately unpersuasive, arguments for enforcement of its contractual forum-selection clause. It seeks to have us distinguish or overrule Redwing Carriers, Inc. v. Foster, 382 So.2d 554 (Ala.1980). Upon consideration of the record, the arguments, the holding in Redwing, and other authorities on the subject, we find that the instant case is indistinguishable from Redwing and that the holding therein is due to be reaffirmed. The judgment of the trial court is affirmed on the authority of Redwing.
AFFIRMED.
TORBERT, C.J., and FAULKNER, EM-BRY and ADAMS, JJ., concur.
